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 6
 7                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     DANIEL E. GONZALEZ,                                      Case No.: 2:15-cv-2448 GEB GGH PS
 9
10            Plaintiff,                                      NARINE STEPANYAN’S RESPONSE
                                                              TO PLAINTIFF’S MOTION TO
11            v.                                              ADMIT DEPOSITION EXCERPTS
                                                              FROM PRIOR ACTIONS
12   DEPARTMENT (BUREAU) OF REAL
13   ESTATE, et al.                                           Date: March 1, 2018 [VACATED]
                                                              Time: 9:00 a.m. [VACATED]
14            Defendants.                                     Before: The Honorable Troy L. Nunley
15
              Pursuant to this Court’s Order of April 4, 2018, requiring Defendants to submit a
16
17   response to Plaintiff’s Motion to Admit Deposition Excerpts from Prior Actions (ECF #104),

18   Narine Stepanyan submits the following.

19            Notably, Ms. Stepanyan submits this brief in response to the Court’s Order, and does not

20   by doing so concede that she remains a party to this action, as will be discussed in greater detail

21   below.

22       I. RELEVANT PROCEDURAL HISTORY

23            Plaintiff filed this instant case on November 24, 2015, naming, among others, Narine

24   Stepanyan. See ECF #1. He subsequently filed his operative First Amended Complaint, again
25   naming Ms. Stepanyan, on February 1, 2016. See ECF #6.
26            On March 22, 2017, after a prior unsuccessful attempt, Ms. Stepanyan filed a motion to
27   dismiss the claims against her. See ECF #49.
28
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              The Court took the motion to dismiss under submission without oral argument. See ECF
 1
     #72.
 2
 3            On June 7, 2017, the Court issued and Order and Findings and Recommendations

 4   wherein it recommended, among other things, that Ms. Stepanyan’s Motion to Dismiss be

 5   granted without leave to amend. See ECF #74.

 6            On June 23, 2017 Plaintiff requested a 15 day extension of time to file Objections the

 7   foregoing, (see ECF #75), and on June 29, 2017 the magistrate judge granted the request and

 8   issued an Order that required objections to be filed by July 14, 2017. See ECF #76. Plaintiff

 9   filed objections on July 21, 2017. See ECF #82.

10            On September 8, 2017, District Judge Burrell issued an Order that, among other things,
11   adopted the recommendation to grant Ms. Stepanyan’s Motion to Dismiss without leave to
12   amend.
13            On November 2, 2017, Plaintiff filed an Appeal of Judge Burrell’s September 8 Order to
14   the U.S. Court of Appeals for the Ninth Circuit. See ECF #100.
15            Pursuant to the Court of Appeals’ Scheduling Order, Plaintiff’s opening brief on appeal
16   was due February 2, 2018. Instead of filing it, however, on January 25, 2018, Plaintiff filed a
17   motion styled “Motion to Hold Appeal in Abeyance and Discharge Time Scheduling Order.”
18            The Court of Appeals has not ruled on that motion. Rather, on January 26, 2018, the
19   Court of Appeals issued an order indicating that “[a] review of the record suggests that this
20
     court may lack jurisdiction over the appeal filed November 2, 2017 because the district court
21
     orders challenged in the appeal may not be final or otherwise immediately appealable,” and
22
     therefore ordering Plaintiff: “[w]ithin 21 days after the date of this order, appellant shall move
23
     for voluntary dismissal of the appeal or show cause why it should not be dismissed for lack of
24
     jurisdiction.”
25
              On February 16, 2018, Plaintiff filed a Response to the Order to Show Cause. As of the
26
     date of this filing, the Court of Appeals has not issued any further orders on the case.
27
28
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             Therefore, as it presently stands, Ms. Stepanyan has been dismissed from the instant
 1
     matter and is not a party to it.
 2
 3       II. ARGUMENT

 4               A. FRCP 32(a)(1) No Longer Applies Because Ms. Stepanyan is No Longer a Party

 5           Federal Rule of Civil Procedure 32(a)(1) clearly states that it is applicable “against a

 6   party.” As Ms. Stepanyan is presently not a party to this action, it therefore does not apply.

 7               B. It is Premature to Determine Whether FRCP 32(a)(2) through (8) Apply

 8           The determination of whether the circumstances warrant admission of Ms. Stepanyan’s

 9   prior deposition testimony under Federal Rule of Civil Procedure 32(a)(2) through (8) is

10   premature. For example, it is too early to know what her trial testimony will be (if any), and it
11   is unknown whether she will be an unavailable witness. As a result, Plaintiff’s motion to shape
12   the evidence that will be admissible at trial is simply filed too early.
13       III. CONCLUSION
14           For the reasons stated above – namely that Ms. Stepanyan is not presently a party, and it
15   is too early to determine whether other circumstances will render her deposition testimony
16   admissible – this Court should deny the instant motion.
17
18                                             Respectfully Submitted,
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                                               FOOS GAVIN LAW FIRM, P.C.
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     Date:
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                                               By: __/s/ Sean Gavin______________________________
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                                               Attorney for NARINE STEPANYAN
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